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UNITED STATES DISTRICT C()URT
DISTRICT OF CONNECTICUT

HAKAN YALINCAK,

\.,,/

)
Plaintiff, )
)
V. ) CIVIL CASE NO:
)
DAN l\/l)¢ll\lGAN1 NEW YORK )
POST HOLD 'GS, iNC., MICHAEL )
WALTER, PAUL ARDAJI, )
ARDAJI RESTAURANT )
VENTURES, LLC, THOMAS )
HE TKELI\/lAl\Il\l, AND TIIERESA )
HENKELMANN, )
)
Defendants. )
COMPLAINT AND JURY DEMAND
As and for his Complaint, the Plaintiff, Hakan Yalincak, hereby alleges as follows:
I. PRELIMINARY STATEMENT
l. This Cornplaint arises from the defendants’ defamatory, derogatory, false,
and reckless publication of numerous articles beginning in or about May 2005
and continuing to in or about January 2007, including, without limitation an
article published on or about May l, 2006 (hereinafter referred to as the
“article”) in the New York Post. On May l, 2006, the defendants, New York
Post Holdings, Inc. (hereinafter referred to as the “Post”), the publisher of the
NeW York Post news paper and Writer Dan Mangan (hereinafter referred to as
“Mangan”), published and caused to be published the defamatory, derogatory,

false, and reckless article With an intentional disregard for the accuracy of

their statements Indeed, on January 22, 2007 the defendant Mangan made an

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admission that he did not check the veracity of his source(s). During the said
phone call, Mangan provided a list of certain individuals and/or entities he had
talked to in publishing the said article(s). Continuing from in or about May
2005 to on or about January 22, 2007, the Plaintiff has asked that the
defendants “cease and desist” from continuing such actions. ln fact, as
recently as January 22, 2007, the Plaintiff’S attorney, Edwin T. Gania, Esq._, of
Mark Jacob Thomas & Associated advised Mangan and the Post, through its
counsel, Michael Cameron, to “cease and desist” from continuing such
actions lndeed, Edwin T. Gania, Esq. of Mark Jacob Thomas & Associates
delivered to the defendants, via facsimile and regular mail, a letter stating in
part, “demand is hereby made on the New York Post Holdings, Inc., its
agents, officers, journalists/reporters, representatives, as Well as_, affiliates,
subsidiaries, and any direct or indirect third-party associates of the New York
Post Holdings, lnc. to cease and desist from exploiting the family in any Way
shape or form and to retract your reckless publication(s) With an apology
Without delay.” To date, the Post has denied, disregarded_, and/or ignored such
requests by the Plaintiff and his attorneys In this Complaint, the Plaintiff
seeks declaratory and injunctive relief, damages related to the defendants’
publication of the said article(S), Which is defamatory on its face, as well as,
for intentional infliction of emotional distress, or in the alternative, negligent
infliction of emotional distress, for the humiliation and loss of reputation
suffered by the Plaintiff, as Well as, all costs, disbursements, and expenses

incurred by the Plaintiff in the prosecution of this act on.

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II. PARTIES

 

2. The Plaintiff, Hakan Yalincak (“Yalincak”), is an individual and a resident
of the State of Rhode Island.

3. The Defendant, Dan Mangan (“Mangan”), is an individual and a resident
of the State of New York and a writer at the New York Post news paper
published by New York Post Holdings, Inc.

4. The Defendant, New York Post Holdings, Inc. (“the Post”), is a
corporation formed under the laws of the State of Delaware, With a principal
place of business located at 1211 Avenue of the Americas, New York, New
York and authorized to do business in the State of Connecticut.

5. The Defendant, Michael Walter, is an individual and a resident of the

F ederal Republic of Gerrnany.

6. The Defendant, Paul Ardaji (“Ardaji”), is an individual and a resident of
the State of Connecticut.

7. The Defendant, Ardaji Restaurant Ventures, LLC (“ARVLLC”), is a
limited liability company formed under the laws of the State of Connecticut
with a principal place of business located at 287 Greenwich Ave., Greenwich,
Connecticut.

8. The Defendant, Thomas Henkelinann (“Mr. Henkelmann”), is an
individual and a resident of the State of Connecticut and owner of the Thomas
Henkelmann Restaurant located at 420 Field Point Road, Greenwich,

Connecticut.

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III.

9. The Defendant, Theresa llenkelmann (“Mrs. Henkelmann” and
collectively with Mr. Henkelmann, “Mr. And Mrs. Henkelmann”), is an
individual and a resident of the State of Connecticut and operator of the
Homestead lnn., located at 420 Field Point Road, Greenwich, Connecticut.
JURISDICTION AND VENUE
10. This Court has subject matter jurisdiction over this case pursuant to 28
U.S.C. § 1332 (a)(l) (diversity action where the amount in controversy
exceeds the sum of $75.000.00, exclusive of interests and costs, and is
between citizens of different states); and 28 U.S.C. § 1367(a) (supplemental,
as well as, ancillary and pendant jurisdiction principles).
11. Venue is proper in this Court pursuant to (a) 28 U.S.C. §§l391(b)(1)
and (2) because all defendants reside in Connecticut and a substantial part of
the events or omissions giving rise to the claims occurred in the District of
Connecticut.

STATEMENT OF FACTS

IV. BACKGROUND

A. MANGAN AND THE POST

12. The Defendant Mangan, caused to be published numerous defamatory,
derogatory, false, and reckless articles beginning in or about May 2005 and
continuing to in or about Januaiy 2007, including, without limitation an article
published on or about May 1, 2006 in the Post. On May l, 2006, the

defendants, the Post and Mangan, published and caused to be published the

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defamatory, derogatory, false, and reckless article with an intentional
disregard for the accuracy of their statementsl.

13. Indeed, on .lanuary 22, 2007 the defendant Mangan made an
admission that he did not check the accuracy of his source(s) (emphasis
added). During the said phone call, Mangan provided a list of certain
individuals and/or entities he had talked to in publishing the said article(s).
13. The defendants Mangan and the Post represented that Mangan talked
to the following individuals: (a) Paul Ardaji; (b) Thomas Henkelmann; and
(c) Theresa Henkelmann.

14. The defendants Mangan and the Post published in their articles,
and/or caused to be published, through the period beginning in or about May
2005 and continuing to on or about January 22, 2007 defamatory, derogatory,
false, and reckless statements from the following individuals: (a) defendant
Walter; (b) defendant Ardaji; (c) defendant ARVLLC; (d) defendant Mr.
Henkelmann; and (e) defendant Mrs. Henkelmann.

15. Among the numerous statements, the defendants caused untrue
statements to be published regarding the Plaintiff commenting, in part, as
follows: (a) business dealings between Ardaji and the Plaintiff; (b) business
dealings between ARVLLC and the Plaintiff, including, without limitation,
SACS Global Trust & Mortgage, LLC f/k/a Greenwich Global Trust &

Mortgage, Inc.; (c) restaurant dinners and/or meetings at the Homestead lnn.

 

' The full list of the articles is not listed and/or attached to this instant Cornplaint as it would be tantamount
to republication of the said articles, or free advertisementl Furtherrnore, the full list of articles, despite
requests by counsel, has not been furnished to the Plaintiff and his attomeys.

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and/or Thomas Henkelmann Restaurant; and (d) the Plaintiff’s class work at
the New York University (i.e., quoting Pere Goriot, by Honore de Balzac, in
its May 2005 article).

B. DISCOVERIES ON ARDAJI AND ARVLLC

16. The defendants Mangan and the Post, in reliance on Ardaji’s and
ARVLLC’s statements, published and caused to be published numerous
articles during the month of May 2005.

17. The Post was advised, directly and through counsel, of the inaccuracy
of the information provided by Ardaji and further advised of the numerous
claims of the Plaintiff against Ardaji and ARVLLC.

19. The Post was advised, in relevant part, by the Plaintiffs counsel and
family, as follows: (a) that Ardaji and ARVLLC had provided false
information in an attempt to get a loan from SACS Global Trust & Mortgage,
LLC f/k/a Greenwich Global Trust & Mortgage, Inc. (hereinafter “Greenwich
Global”), a mortgage company owned by the Plaintiff; (b) that in or about
August 2004, Ardaji and ARVLLC, had provided false information to a
subsidiary of Credit Agricole lndosuez, in an attempt to refinance a vacation
home in France; (c) that on July 15, 2004, Ardaji sexually assaulted an
employee of Greenwich Global, Amanda Jehncky, causing a complaint to be
filed against him; (d) that in or about the fall of 2004, a complaint was filed
with the Pound Ridge Police Department against Ardaji for, i@ B,
harassment, and threats; (e) that Ardaji owed substantial sums to the Plaintiff

and his family due to his fraudulent misrepresentations in connection with his

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attempts to obtain refinancing on his home in France_, and in connection with
his attempts to obtain financing for a new project operated by ARVLLC.
lndeed, amongst other misrepresentations Ardaji failed to disclose the fact
that in or about 1996 he had declared bankruptcy and that in an effort to ward
of creditors he had transferred his Greenwich, Connecticut home to his wife’s
[Lena Ardaji’s] name. As a result of such fraudulent misrepresentations by
defendants Ardaji and ARVLLC, Greenwich Global suffered a loss of at least
5100,000.00.

C. DISCOVERIES ON WALTER

20. The defendants Mangan and the Post, in reliance on defendant
Walter’s statements, published and caused to be published numerous articles
beginning in or about the month of May 2005 and continuing to on or about
January 22, 2007.

2l. The Post was advised, directly and through counsel, of the inaccuracy
of the information provided by Walter and further advised of the numerous
claims of the Plaintiff against Walter_

22. The Post was advised, in relevant part, as follows: (a) that Walter’s
had a criminal complaint filed against him by several members of the
Seventh-Day Adventists Church in 1992 in connection with “inappropriate
acts,” including sexual abuse and molestation of minors leading to his
reassignment from Japan to Gerrriany; (b) that Walter’s had made defamatory,
derogatory, false, and reckless statements, as follows, “When I read about

Hakan’s arrest last year, I wasn’t surprised, though, given the influence of his

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parents ..” ; and (c) that in connection with Walter’s statements the Plaintiff
and his family had filed a suit against him [Walter].

23. lndeed, despite such information and evidence to the contrary of
Walter’s claims, the Post chose, whether intentionally or negligently, to
publish such articles which contain defamatory statements causing significant
emotional distress, humiliation and loss of reputation to the Plaintiff.

24. The Plaintiff, through his family and counsel, submitted letters of
support from members of his local church, his former high school principal, as
well as, from family members; however, despite such information the Post
chose to ignore such information (A copy of the said information is
collectively attached hereto as Exhibit A.)

25 . The Plaintiff, through his family and counsei, advised the Post that on
or about December 13, 2006 there was information (Exhibits A-R) entered in
the criminal case(s) and that the Post’s continuing publication of such
defamatory, derogatory, false, and reckless statements had caused and would
so continue to cause irreparable harm to the Plaintiff and his familyz.
However, despite such efforts the Post continues, undeterred in its actions.

D. DISCOVERIES ON HENKELMANN

26. The defendants Mangan and the Post, in reliance on the defendants’

Mr. & Mrs. Henkelmann’s statements, published and caused to be published

 

2 The Court. l\/largo|is1 M.J., entered an Order Setting Conditions for Release (“Order”) on December 20,
2006. ln addition, on appeal by the Govemrnent pursuant to 18 U.S.C. § 3145(a)(l), the Court, Arterton, .l.,
upheld the Order and Yalincak was released on bail pursuant to 18 U.S.C. 3143 on January 5, 2007.

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numerous articles beginning in or about the month of May 2005 and
continuing to on or about January 22, 2007.

27. The Post was advised, directly and through counsel, of the inaccuracy
of the information provided by Mr. And Mrs. Henkelmann, i.e., the
Homestead lnn.

28. The Post was offered, directly and through counsel, evidence of the
falsity and inaccuracy of the information provided by Mr. And Mrs.
Henkelmann3.
29. The defendants Mangan and the Post have failed to cease and desist
from their reckless actions as described above and have continued to engage
in such actions by continuing to publish defamatory, derogatory, false, and
reckless statements

30. The defendants Ardaji and ARVLLC have failed to cease and desist
from their reckless actions as described above and have continued to engage
in such actions by continuing to slander the Plaintiff and causing to be
published defamatory, derogatory_, false, and reckless statements

31. The defendants Mr. Henkelmann and Mrs. Henkelmann have failed to

cease and desist from their reckless actions as described above and have

continued to engage in such actions by continuing to slander the Plaintiff and

 

3 See_. The Orner B. Yalincak and Avferafet Yalincak Familv Foundation v. Thomas Capital Manaeement.
etgl., Case No. CV-06-5000975-S (default entered July 2006 in favor of the Plaintiff) and The Omer B.

Yalincak and Avferafet Yalincak Familv Foundation v. Cormac B. Meehan, Case No. CV-06-5001386-S.
§e§ M, HMMH Holdings, LLC v. Ralnh Hallenborg et al, Case No. CV-06-5000975-S; Hakan Yalincak

v. Michael Sherrnan (F ederal Grievance); Hakan Yaiineak v. Miehael Sherman. Grievance Complaint No.
06-0312.

 

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V.

causing to be published defamatory, derogatory, false, and reckless
statements
32. As a result of the foregoing, the Plaintiff has been damaged and has
had to expend time, money, and resources to respond to the various
defamatory, derogatory, false, and reckless statements of the defendants
33. Absent declaratory and injunctive relief, the Plaintiff will have no
adequate remedy at law and will continue to be so damaged
CAUSES OF AC'I`ION
COUNT 1
lDECLARATORY ANI) INJUNCTIVE RELIEF)
[AS TO ALL DEFENDANTS)
34. The Plaintiff hereby repeats and realleges each and every allegation
set forth in paragraphs 1~33, above, as if fully set forth herein.
35. As described above, the Plaintiff has been damaged and has had to
expend time, money, and resources to respond to the various defamatory,
derogatory, false, and reckless statements of the defendants
36. The Defendants, Mangan and the Post, on January 22, 2007 admitted
during a telephone conversation of the fact that they had failed to ascertain
whether the statements being made by their sources were in fact accurate
andfor reliable.
37. The Defendants, Mangan and the Post, on Januaiy 22, 2007 upon
being notified of the initiation of the present complaint, stated, in part, that

they were “lawsuit proof.”

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38. As a result of the foregoing, the Plaintiff has been damaged and has
had to expend time, money, and resources to respond to the various
defamatory, derogatory, false, and reckless statements of the defendants
Mangan and the Post.
39. Absent declaratory and injunctive relief by this Court, enjoining the
defendants Mangan and the Post from continuing to engage in such conduct,
the Plaintiff will have no adequate remedy at law and will continue to be so
damaged4.
COUNT II
DEFAMATION
lAS TO ALL DEFENDANTS)
40. The Plaintiff hereby repeats and realleges each and every allegation
set forth in paragraphs 1-39, above, as if fully set forth herein.
41. The Defendants made false and defamatory statements of fact
regarding the Plaintiff with reckless disregard or negligence for the accuracy
of such statements
42. The Defendants caused such false and defamatory statements to be
published and/or broadcast
43. As a result thereof, the Plaintiff demands judgment against the

defendants herein, jointly and severally, in the form of $5,000,000.00 in

 

4 S_ee. Federal Rules ot`Civil Procedure 65. §§ Ho, Brenntag lnt’l Chems.` lnc. v. Bank of lndia, 175 F.3d
245, 249 (2d. Cir. 1999) (“To justify the issuance of preliminary injunctive relief`, a party must ordinarily
show that it will suffer irreparable harm and either a likelihood of success on the merits or sufficiently
serious questions going to the merits to make them a fair ground of litigation and a balance of hardships
that tips decidedly in the movant’s favor.”)

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compensatory and special damages and 8100,000,000.00 in punitive and
exemplary damages for the humiliation and loss of reputation suffered by the
Plaintiff, as well as, all costs associated with the prosecution of this act on.
COUNT IV
(EJTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)
LAS TO ALL DEFENDANTS)
44. The Plaintiff hereby repeats and realleges each and every allegation
set forth in paragraphs 1-43, above, as if fully set forth herein.
45. The Defendants intended to inflict emotional distress on the
Plaintiff, or should have known that emotional distress Was the likely result
of their conduct
46. The Defendants acted with intentional malice, in that they had
received numerous correspondences from the Plaintiff and Counsel for the
Plaintiff to cease and desist from continuing to engage in conduct described
above.
47. The conduct of the Defendants is the direct cause of the Plaintiffs
distress lndeed, as a result of the Defendants’ conduct the Plaintiff has had
to expend time_, money, and resources as well as, seek counseling to address
the distress caused by the Defendants
48. The emotional distress caused by the Defendants is severe and the
allegations and statements made by the Defendants in ridiculing sensitive

health concerns exceed all bounds usually tolerated by a decent society.

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49. As a result thereof, the Plaintiff demands judgment against the
defendants herein, jointly and severally, in the form of $5,000,000.00 in
compensatory and special damages and $100,000,000.00 in punitive and
exemplary damages for the humiliation and loss of reputation suffered by the
Plaintiff, as well as, all costs associated with the prosecution of this act on.
COUNT V
lNEGLIGEN'I` INFLICTION OF EMOTIONAL DISTRESS)
[LS TO ALL DEFENDANTS)

50. The Plaintiff hereby repeats and realleges each and every allegation
set forth in paragraphs 1-49, above, as if fully set forth herein.
51. The allegations contained in Count IV, supra, in the alternative,
constitute Negligent Infliction of Emotional Distress, if not Intentional
lnfliction of Emotional Distress.
52. The Defendants should have realized that its conduct involved an
unreasonable risk of causing emotional distress and that distress, if it were
caused, might result in illness or bodily harm.
53. As a result thereof, the Plaintiff demands judgment against the
defendants herein, jointly and severally, in the form of $5,000,000.00 in
compensatory and special damages, and $100,000,000.00 in punitive and
exemplary damages for the humiliation and loss of reputation suffered by the

Plaintiff, as well as, all costs associated with the prosecution of this act on.

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VI.

COUNT VI
(COMMON LAW FRAUD)
(AS TO ARDA.H AND ARVLLC ONLY)
54. The Plaintiff hereby repeats and realleges each and every allegation
set forth in paragraphs 1-53, above, as if fully set forth herein,
55. As a result of the conduct alleged herein, the Defendants knowingly
made fraudulent misrepresentations and omissions of material facts as stated
in 1116-is
56. As a result of such fraudulent misrepresentations by defendants
Ardaji and ARVLLC, Greenwich Global suffered a loss of at least
$100,000.00.
PRAYERS FOR RELIEF
WHEREFORE, the Plaintiff respectfully prays for relief and
judgment, against the Defendants as follows:
1, Awarding the Plaintiff, in the form of a judgment against the
defendants an injunctive order enjoining the defendants from continuing to
engage in such conduct as described herein, or if impractical, award the
Plaintiff compensatory, incidental, and special damages;
2. Awarding the Plaintiff, in the form of a judgment against the
defendants, actual damages pursuant to Conn. Gen. Stat. Section 42g(a);
3. Awarding the Plaintiff, in the form of a judgment against the

defendants $100,000,000 in punitive and exemplary damages to the extent

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of the Plaintiff"s entitlement thereto under applicable laws including

pursuant to Conn. Gen. Stat. Section 42-110g(a);

4_

Awa_rding the Plaintiff all costs and disbursements he incurred in this

act on;

5.

Awarding the Plaintiff such other and further relicf, both legal and

equitable, as this Court, in its discretion may deem just and proper.

DEMAND FOR JURY TRIAL

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the Plaintiff

hereby demands a trial by jury as to all issues so triable

DA TED:

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Respectfully submitted,
HAKAN YALINCAK,

Hakan Yalincak, fig §
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Hartford, CT 06105
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ORDER RE: DISCLOSURE STATEMENT

ANY NoN- GovERNMENTAL CoRPoRATE PARTY To AN ACrIoN IN
THIs CoURT snALL ran A srArEMnNr rnENTIrYrNG ALL lrs PARENT
CoRPoRATioNs AND LlsrrNG ANY PUBLICLY HELD CoMPANY THAT
owns ro% oR MoRE or run PARrY’s srocr<. A PARTY sHALL FILE r1 re
srATEMnNr WITH lrs INITIAL PLEADING FILED IN THE CoURr AND
snALL sUPPLEMENr run srATEMENr WITHIN A REAsoNAaLE rian or
ANY CHANGE rN THE rNFoRMATioN. CouNsEL sHALL APPEND A
<:ERTIFICATE or snavrcn ro run sTATEMENT rN CoMPLIANCE wirtz D.
CoNN. L. R_ 5(C).

COUNSEL FOR THE PLAINTIFF OR REMOVING DEFENDANT SHALL BE
RESPONSIBLE FOR SERVTNG A COPY OF THIS ORDER UPON ALL PARTIES
TO THE ACTION.

BY ORDER OF THE COURT

KEVIN F. ROWE, CLERK

(effective January i, 2003)

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